                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
              Plaintiff,                          )
                                                  )
 v.                                               )   No.: 3:13-CR-145-TAV-HBG-4
                                                  )
 LORENEZA JACKSON,                                )
                                                  )
              Defendant.                          )


                           MEMORANDUM OPINION & ORDER

       This criminal matter is before the Court for consideration of the Report and

 Recommendation entered by United States Magistrate Judge H. Bruce Guyton (“R&R”)

 [Doc. 91]. The R&R addresses the defendant’s Motion to Suppress Evidence, in which

 the defendant seeks an order suppressing cash that was discovered on his person and

 seized from him on September 14, 2013 [Doc. 79]. Magistrate Judge Guyton held a

 hearing on the motion on August 28, 2014 [Doc. 84]. The defendant submitted a post-

 hearing memorandum, as permitted by the Court [Doc. 90]. Magistrate Judge Guyton

 then issued the R&R, recommending that the Court deny the defendant’s motion [Doc. 91

 p. 18]. The defendant has filed objections to the R&R [Doc. 94]. For the reasons that

 follow, the Court will overrule the defendant’s objections, accept the R&R, and deny the

 defendant’s motion to suppress.




Case 3:13-cr-00145-TAV-HBG         Document 96 Filed 11/24/14      Page 1 of 17    PageID
                                         #: 448
 I.     Standard of Review

        The Court reviews de novo those portions of the R&R to which the defendant has

 objected.   28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b).          Accordingly, the Court

 considers the motion to suppress, underlying and supporting briefs, government’s

 response, evidence, R&R, and objections, all in light of the applicable law.

        Magistrate Judge Guyton’s findings of fact [Doc. 91 p. 6–7] are supported by the

 evidence, and the defendant does not expressly object to them. To the extent that any of

 the defendant’s objections implicate a fact found in the R&R, the Court has considered

 the dispute in the context of its analysis of the defendant’s objections.

 II.    Facts and Procedural History

        The defendant is charged with conspiring to distribute one kilogram or more of

 heroin, and with possessing with intent to distribute heroin [Doc. 7]. On the morning of

 September 14, 2013, Officer Robert Cook of the Knoxville Police Department observed

 that the defendant was not wearing a seatbelt as a passenger in a car being driven by a

 female driver [Doc. 91 p. 6]. Upon deciding to stop the vehicle for a seatbelt violation,

 Officer Cook ran the vehicle’s license plate number [Doc. 88 p. 4]. He learned that the

 car was registered to a woman named Katie Miller, who had an outstanding felony

 warrant for her arrest [Doc. 88 p. 17; Doc. 91 p. 6]. Officer Cook stopped the vehicle on

 I-40 and approached the driver of the vehicle, obtaining her ID and identifying her as

 Katie Miller [Doc. 91 p. 6]. After confirming the existence of an arrest warrant for Ms.

 Miller, Officer Cook called for another officer to report to the scene [id.].



                                               2
Case 3:13-cr-00145-TAV-HBG         Document 96 Filed 11/24/14           Page 2 of 17   PageID
                                         #: 449
        Officer Cook asked Ms. Miller to exit the car and come to the front of his police

 cruiser [id.]. He told her that he was arresting her on an outstanding warrant, handcuffed

 her, and asked whether she had anything illegal on her person [id.]. She said that the

 defendant had stuffed something down her pants, and when Officer Cook asked what it

 was, she said it was heroin [Doc. 88 p. 7; Doc. 91 p. 6–7]. At that time, Officer Cook

 decided that he would detain the defendant after he had secured Ms. Miller [Doc. 88 p.

 8]. Officer Cook placed Ms. Miller in the back of his police cruiser and requested that a

 female officer report to the scene in order to search her [Doc. 88 p. 7–8; Doc. 91 p. 7].

        Officer Cook then approached the defendant on the passenger side of Ms. Miller’s

 car [Doc. 91 p. 7]. Up to that point in time, the defendant had been acting in a way that

 was “no more unusual than anybody else that is a little bit nervous” [Doc. 88 p. 20].

 Officer Cook asked the defendant for identification [Doc. 91 p. 7]. The defendant

 appeared to be very nervous, and he stated that he did not have any identification with

 him [id.]. The defendant gave his name as J. Davis [Doc. 88 p. 20; Doc. 91 p. 7].

 Nevertheless, the defendant continued to rummage around the front of Ms. Miller’s car,

 as if still looking for his identification [Doc. 91 p. 7]. He twice stumbled in giving his

 Social Security Number [id.]. Based on the way the defendant was acting, Officer Cook

 suspected that the defendant had given him a false name [id.].

        Officer Cook spoke with the defendant for a couple of minutes while waiting for

 another officer to arrive on scene [Doc. 88 p. 21]. Officer Gerlach arrived on scene and

 reported to the rear bumper of Officer Cook’s cruiser, and Officer Cook asked the

 defendant to step out of the car in order to determine whether he was armed [Doc. 88 p.

                                              3
Case 3:13-cr-00145-TAV-HBG        Document 96 Filed 11/24/14          Page 3 of 17     PageID
                                        #: 450
 9; Doc. 91 p. 7]. Based on his experience, Officer Cook believed that drugs and firearms

 usually go hand in hand [Doc. 88 p. 9]. When Officer Cook asked the defendant to step

 out of the vehicle, he had already decided to arrest the defendant “for the drugs” and for

 giving false identification [Doc. 88 p. 13–14, 21].

        Officer Cook frisked the defendant and felt what he believed to be a large wad of

 cash in the pocket of the defendant’s shorts [Doc. 91 p. 7]. Officer Cook did not remove

 the cash; instead, he handcuffed the defendant and placed him in the back of Officer

 Gerlach’s police cruiser [id.]. Officer Cook did not tell the defendant that he was under

 arrest at that time [Doc. 88 p. 14]. A few minutes later, a female officer arrived on scene,

 searched Ms. Miller, and found heroin on her person [id.]. A K-9 unit subsequently

 arrived on scene, a police dog alerted on the car, and the car was searched [id.].

        Based on the recording of the dashboard video camera on Officer Cook’s police

 cruiser, approximately 25 minutes elapsed between the time that Officer Cook

 handcuffed the defendant and the police dog sniffed the car [Doc. 85, Hearing Ex. Plf.

 No. 1]. Approximately 34 minutes in total elapsed between the time that Officer Cook

 initiated the stop and the police dog arrived to sniff the car [id.]. After the search of the

 car, Officer Cook searched the defendant incident to his arrest and removed about $3,063

 in cash, mostly in the form of $20 bills, from the defendant’s pocket [id.].

        Officer Cook later completed a warrant charging the defendant with “resale of

 heroin.” [Doc. 88 p. 22]. As probable cause for the warrant, Officer Cook listed the

 defendant’s nervousness, the statement of Ms. Miller that the defendant had put heroin in



                                              4
Case 3:13-cr-00145-TAV-HBG         Document 96 Filed 11/24/14         Page 4 of 17     PageID
                                         #: 451
 her pants, and the cash found on the defendant [Doc. 88 p. 22–23]. Officer Cook did not

 charge the defendant with providing false identification [Doc. 88 p. 23].

        In his original motion papers, the defendant argued that Officer Cook’s frisk

 violated the Fourth Amendment because Officer Cook did not have reasonable suspicion,

 based on specific and articulatable facts, that the defendant was armed and dangerous

 [Doc. 79 p. 2–4; Doc. 90 p. 4–7]. The defendant also argued that regardless of whether

 the frisk was lawful, Officer Cook’s seizure of the cash violated the Fourth Amendment

 because Officer Cook could not have immediately recognized from plain touch that the

 object he felt was cash in an amount to suggest it may have been contraband [Doc. 79 p.

 5–6; Doc. 90 p. 8–9]. Finally, the defendant argued that Officer Cook’s testimony about

 his probable cause to arrest the defendant was contradictory, thereby highlighting the

 “precariousness of his probable cause determination,” and that the facts and

 circumstances of the traffic stop do not lead solely to the conclusion that the cash

 inevitably would have been discovered through a lawful search incident to arrest [Doc. 90

 p. 9–10]. Thus, the defendant submitted, the cash should be suppressed.

        In the R&R, Magistrate Judge Guyton found: (1) Officer Cook had reasonable

 suspicion, based on specific and articulatable facts, that the defendant was armed and

 dangerous, permitting him to lawfully frisk the defendant [Doc. 91 p. 9–14]; (2) during

 the frisk, Officer Cook felt what he recognized from the feel of the object to be a large

 amount of cash, and he could have seized it at the time of the frisk [Doc. 91 p. 14–17];

 and (3) the cash was properly seized as a search incident to arrest, and the cash inevitably

 would have been discovered regardless of whether the frisk occurred [Doc. 91 p. 17–18].

                                              5
Case 3:13-cr-00145-TAV-HBG        Document 96 Filed 11/24/14          Page 5 of 17    PageID
                                        #: 452
 III.   Analysis

        The defendant’s objections mostly restate his original arguments. Where, as in

 this case, an individual is seized under the Fourth Amendment, a law enforcement officer

 “must have a reasonable suspicion of criminal activity to justify a Terry stop, or probable

 cause to justify an arrest, in order for the seizure to comply with the Fourth Amendment.”

 United States v. Campbell, 486 F.3d 949, 954 (6th Cir. 2007). Upon a careful and de

 novo review of the record and the law, the Court finds that the conclusions contained in

 the R&R are correct.

        A. Officer Cook Had Reasonable Suspicion, Based on Specific and Articulatable
           Facts, That the Defendant Was Armed and Dangerous

        “When police officers make stops of individuals based on reasonable suspicion of

 criminal activity, they are said to have made a Terry stop.”         Srisavath v. City of

 Brentwood, 243 F. App’x 909, 913 (6th Cir. 2007) (citing Terry v. Ohio, 392 U.S. 1, 30

 (1968)). To justify a Terry stop, “the officer must be able to point to ‘specific and

 articulable facts [that], taken together with rational inferences from those facts,

 reasonably warrant that intrusion.’” Id. (quoting Terry, 392 U.S. at 21). Officer safety is

 a legitimate interest in the context of a traffic stop, and a police officer may perform a

 pat-down search of an occupant of a vehicle on reasonable suspicion that the occupant is

 armed and dangerous. United States v. Noble, 762 F.3d 509, 521–22 (6th Cir. 2014).

        The R&R found that Officer Cook had reasonable suspicion that the defendant

 was armed and dangerous based on the following pieces of information available to

 Officer Cook at the time he asked the defendant to step out of the vehicle: (1) Ms. Miller


                                             6
Case 3:13-cr-00145-TAV-HBG        Document 96 Filed 11/24/14         Page 6 of 17    PageID
                                        #: 453
 had accused the defendant of hiding heroin in her pants; (2) the defendant appeared

 unusually nervous as evidenced by his continuing to look for identification after telling

 Officer Cook he had none; (3) Officer Cook suspected that the defendant had given a

 false name based on the defendant’s actions; (4) the defendant stumbled twice in giving

 his Social Security number; and (5) Officer Cook knew from his experience that guns are

 often associated with drug activity [Doc. 91 p. 10].

        The defendant argues that each of these facts, standing alone, would not provide

 reasonable suspicion that the defendant was armed and dangerous, and so together they

 also cannot provide such reasonable suspicion. “‘Reasonable suspicion is based on the

 totality of the circumstances,’” Noble, 762 F.3d at 521 (quoting Joshua v. DeWitt, 341

 F.3d 430, 443 (6th Cir. 2003)), and “it exists if ‘a reasonably prudent [person] in the

 circumstances would be warranted in the belief that his [or her] safety or that of others

 was in danger.’” Id. at 521–22 (quoting Terry, 392 U.S. at 27). Thus, the R&R properly

 considered whether there was reasonable suspicion for the pat-down search of the

 defendant by taking an objective view of the totality of the circumstances known to

 Officer Cook at the time he performed the pat-down search.

        Although the Sixth Circuit has cautioned that nervousness is an “unreliable”

 indicator of someone’s dangerousness, the Sixth Circuit has not held that it is per se

 inappropriate to consider nervousness as a factor that may contribute to reasonable

 suspicion. See Noble, 762 F.3d at 522–23. For example, the Court in Noble afforded

 nervousness little weight in its reasonable suspicion analysis after specifically noting that



                                              7
Case 3:13-cr-00145-TAV-HBG         Document 96 Filed 11/24/14         Page 7 of 17     PageID
                                         #: 454
 there was no evidence the defendant had become more nervous as the traffic stop

 progressed, or that he had failed to comply with any of the officers’ commands. Id.

        In this case, Officer Cook testified that prior to approaching the defendant on the

 passenger side of the vehicle—that is, during Officer Cook’s interactions with Ms. Miller

 on the driver side of the vehicle—the defendant was acting “no more unusual than

 anybody else that is a little bit nervous” [Doc. 88 p. 20].           When describing the

 defendant’s conduct during Officer Cook’s later questioning about the defendant’s

 identification, however, Officer Cook testified that the defendant acted “real nervous”

 [Doc. 88 p. 8]. Additionally, although the defendant told Officer Cook that he did not

 have any identification, the defendant acted in a manner inconsistent with that statement.

 The defendant continued rummaging around the front of Ms. Miller’s car in an apparent

 attempt to find identification and had difficulty in giving his Social Security Number. In

 these circumstances, it is proper to consider nervousness as contributing to reasonable

 suspicion, even if it alone likely could not satisfy the reasonable suspicion standard.

        In addition to the defendant’s nervousness, Ms. Miller had told Officer Cook that

 the defendant put heroin in her pants. The weight that statements by third parties should

 be given in a Fourth Amendment analysis falls along a broad spectrum. On one end of

 the spectrum, an anonymous tip from an unknown location made by an unknown caller

 cannot form the basis for reasonable suspicion when there is no indicia of its reliability.

 Florida v. J.L., 529 U.S. 266, 270 (2000).        On the other end of the spectrum, an

 eyewitness statement made by a person whose honesty and reliability are not in doubt can



                                               8
Case 3:13-cr-00145-TAV-HBG         Document 96 Filed 11/24/14          Page 8 of 17        PageID
                                         #: 455
 by itself form the basis of probable cause to arrest. Ahlers v. Schebil, 188 F.3d 365, 370

 (6th Cir. 1999).

        The crucial question under the law is whether there are sufficient indicia of

 reliability for the statement to be taken as evidence that meets the relevant burden under

 the Fourth Amendment. See Alabama v. White, 496 U.S. 325, 328–29 (1990). Highly

 relevant factors for determining the value of a declarant’s statement include the

 declarant’s veracity, reliability, and basis of knowledge. Id. Eyewitness statements are

 presumed to be reliable and truthful unless there is an apparent reason to believe that the

 eyewitness is lying, did not accurately describe what had been seen, or was in some way

 mistaken in his or her recollection. Ahlers, 188 F.3d at 370.

        Here, Ms. Miller’s statement that the defendant had put heroin in her pants falls

 closer to the eyewitness testimony side of the spectrum than the anonymous informant

 side of it. If Ms. Miller were telling the truth, there is every reason to believe she would

 have directly observed (and experienced) the defendant’s actions, and been able to both

 accurately describe and correctly recall what happened. Thus, if Ms. Miller were telling

 the truth, her statement alone would have satisfied the higher standard of probable cause.

        Ms. Miller’s credibility is somewhat called into question by the fact that she was

 wanted on a felony arrest warrant. Additionally, if she believed that the discovery of

 heroin in her pants was inevitable because she was under arrest, she may have had a

 motive to falsely accuse someone else. In support of her credibility is the fact that her

 statement went against her interest by implicating her in a potential crime for which she

 was not under arrest. Additionally, the way in which she made her statement supports

                                              9
Case 3:13-cr-00145-TAV-HBG        Document 96 Filed 11/24/14          Page 9 of 17    PageID
                                        #: 456
her credibility. She first told Officer Cook only that the defendant had stuffed something

in her pants. It was not until Officer Cook asked what it was that she mentioned it was

heroin. Her apparent reluctance in making her statement reduces the likelihood that she

was trying to falsely accuse the defendant.

       Balancing all of these factors as indicia of reliability, Ms. Miller’s statement

provides a basis upon which a reasonably prudent person would have reason to believe

that the defendant was personally involved in drug activity, especially when combined

with the defendant’s nervousness and his apparent false statement about his identity.

Because Officer Cook knew from his experience that drugs and firearms are often found

together, he had reason to believe the defendant was personally armed and dangerous.

See United States v. Bell, 762 F.2d 495, 500–02 (6th Cir. 1985). Accordingly, Officer

Cook had reasonable suspicion, based on specific and articulatable facts, that the

defendant was armed and dangerous. A pat-down search of the defendant in this context

was reasonable to secure the legitimate interest of officer safety.

       B. Officer Cook Immediately Recognized the Object He Felt as a Large Amount
          of Cash and Could Have Seized It Then under the Plain Touch Doctrine

       The plain touch doctrine provides that a defendant’s Fourth Amendment rights are

not violated when a police officer conducting an authorized pat-down search feels an

object whose contour or mass makes its identity immediately apparent. Minnesota v.

Dickerson, 508 U.S. 366, 375–76 (1993). If the object is contraband, it may be seized

without a warrant. Id.




                                              10
   Case 3:13-cr-00145-TAV-HBG          Document 96 Filed 11/24/14       Page 10 of 17
                                       PageID #: 457
      Here, the defendant objects that Officer Cook could not have recognized there was

a large amount of cash in the defendant’s pocket based on its plain feel, because in order

to identify the cash, Officer Cook would have had to exceed the scope of the pat-down

search by squeezing, sliding, or otherwise manipulating the contents of a pocket he knew

did not contain a weapon. Id. at 378. The R&R properly found that Officer Cook

immediately identified the cash based on its plain feel.       Accordingly, as correctly

explained in the R&R, Offcer Cook could have seized the cash during the pat-down

search.

      Officer Cook testified on direct examination that upon patting down the defendant,

“[i]t was clear he had a substantial amount of cash in his pocket” [Doc. 88 p. 12]. On

cross examination, the defendant asked only three questions about how Officer Cook

knew that what he felt was cash, eliciting affirmative responses to each question: (1)

“When you pat him down you immediately recognize what was a wad of cash?” (2)

“That is by feeling?” and (3) “You grabbed on the wad of cash and knew it was cash. I

guess that’s how you knew?” [Doc. 88 p. 22]. Officer Cook’s testimony supports the

conclusion that the cash was immediately apparent based on its feel without any

manipulation.

      Additionally, as the R&R noted, the amount of cash discovered on the defendant

also corroborates Officer Cook’s testimony that he could immediately tell he had felt a

large amount of cash. The defendant was carrying more than $3,000 in mostly $20

denominations. This amount of cash in such denominations would invariably produce a



                                           11
   Case 3:13-cr-00145-TAV-HBG        Document 96 Filed 11/24/14         Page 11 of 17
                                     PageID #: 458
large wad of cash. Moreover, its size would be indicative of a large amount of cash even

if the cash had consisted of small denominations.

      The defendant contends that Officer Cook’s affirmative response to the question

of whether he “grabbed on the wad of cash” demonstrates that Officer Cook had to

manipulate the defendant’s pockets in order to discern the cash. The entirety of the

testimony, however, more strongly supports the conclusion that the cash was immediately

apparent to Officer Cook without further manipulation. It is notable that the defendant

raised the plain touch doctrine in his original motion papers [Doc. 79 p. 5–6] and had an

opportunity to inquire into how Officer Cook could identify the cash based on its feel.

The defendant did not do so in any detail at the hearing, and the evidence does not

support his preferred interpretation of the facts. The R&R properly found that the cash

was immediately apparent to Officer Cook based on its plain feel.

      C. The Cash Was Seized in a Search Incident to a Lawful Arrest, and It Inevitably
         Would Have Been Discovered Even if the Frisk Was Unlawful

      No violation of the Fourth Amendment occurs when a person is searched, and

evidence discovered on their person seized, incident to a lawful arrest. Arizona v. Gant,

556 U.S. 332, 338–39 (2009); Chimel v. California, 395 U.S. 752, 763 (1969). As the

R&R correctly found, the cash in this case was seized incident to a lawful arrest.

Additionally, evidence obtained in violation of the Fourth Amendment should not be

suppressed if the tainted evidence inevitably would have been lawfully discovered.

United States v. Kennedy, 61 F.3d 494, 499 (6th Cir. 1995). Accordingly, regardless of




                                           12
   Case 3:13-cr-00145-TAV-HBG        Document 96 Filed 11/24/14        Page 12 of 17
                                     PageID #: 459
whether the frisk and associated identification of cash was lawful, the cash should not be

suppressed if the arrest would have been lawful in absence of the cash.

       The defendant argues that the Court should not attempt to “predict the events

following the arrest of Mr. Jackson” [Doc. 94 p. 5]. When applying the inevitable

discovery doctrine, the Court predicts what would have happened if the unlawful search

had been suspended, focusing on “‘demonstrated historical facts capable of ready

verification or impeachment.’” United States v. Bowden, 240 F. App’x 56, 61 (6th Cir.

2007) (quoting United States v. Ford, 184 F.3d 566, 577 (6th Cir. 1999)).

       Here, Officer Cook testified that he intended to arrest the defendant when he asked

the defendant to step out of the car. Officer Cook then frisked the defendant and

identified the cash by its feel. He put the defendant in handcuffs in the back of a police

cruiser. Officers then found heroin on Ms. Miller, and a police dog alerted to the

presence of drugs in her car. Lastly, officers removed the cash from the defendant’s

pocket. There is no question that the defendant was in fact arrested. Accordingly, the

demonstrated historical facts of this case leave little doubt that the defendant would have

been arrested even if the frisk had never occurred.

       “‘[A] warrantless arrest by a law officer is reasonable under the Fourth

Amendment where there is probable cause to believe that a criminal offense has been or

is being committed.’” United States v. Marrero, 651 F.3d 453, 468 (6th Cir. 2011)

(quoting Devenpeck v. Alford, 543 U.S. 146, 152 (2004)). Probable cause exists when

facts and circumstances are “within the officer’s knowledge that are sufficient to warrant

a prudent person, or one of reasonable caution, in believing, in the circumstances shown,

                                            13
   Case 3:13-cr-00145-TAV-HBG         Document 96 Filed 11/24/14          Page 13 of 17
                                      PageID #: 460
that the suspect has committed, is committing, or is about to commit an offense.” Alman

v. Reed, 703 F.3d 887, 896 (6th Cir. 2013) (quoting Michigan v. DeFillippo, 443 U.S. 31,

37 (1979)) (internal quotation marks omitted). “The establishment of probable cause

‘requires only a probability or substantial chance of criminal activity, not an actual

showing of such activity.’” United States v. Moncivais, 401 F.3d 751, 756 (6th Cir.

2005) (quoting United States v. Barrett, 890 F.2d 855, 861 (6th Cir. 1989)).

       The defendant argues that Officer Cook’s testimony was contradictory regarding

his perception of probable cause, and therefore his testimony regarding probable cause

should be given little weight. The defendant also argues that the Court should objectively

view the conduct and reasoning of Officer Cook at the time the seizure of the cash and

the arrest occurred.

       In determining whether a police officer had probable cause to make an arrest, the

Court takes an objective view of the evidence known to the officer at the time, rather than

inquiring into the officer’s subjective beliefs. Devenpeck, 543 U.S. at 153. A police

officer’s “subjective reason for making the arrest need not be the criminal offense as to

which the known facts provide probable cause.” Id.; see United States v. Abdi, 463 F.3d

547, 557–60 (6th Cir. 2006) (applying the rule in the context of a challenged arrest on

immigration charges when there was probable cause to arrest on terrorism charges).

Thus, evidence should not be suppressed under the Fourth Amendment when there was

objective probable cause for an arrest, even if police believed there was not probable

cause. Norris v. Lester, 545 F. App’x 320, 325 (6th Cir. 2013).



                                            14
   Case 3:13-cr-00145-TAV-HBG         Document 96 Filed 11/24/14         Page 14 of 17
                                      PageID #: 461
         According to Officer Cook, the defendant was arrested for “resale of heroin.” It is

a felony in Tennessee for a person to “knowingly . . . (3) sell a controlled substance; or

(4) possess a controlled substance with intent to manufacture, deliver or sell the

controlled substance.” Tenn. Code Ann. § 39-17-417. Heroin is a Schedule I controlled

substance. Tenn. Code Ann. § 39-17-406(c)(11). Tennessee law penalizes constructive

possession the same as actual possession. State v. Robinson, 400 S.W.3d 529, 534 (Tenn.

2013). Additionally, it is a misdemeanor in Tennessee for a person to “knowingly

possess or casually exchange a controlled substance, unless the substance was obtained

directly from, or pursuant to, a valid prescription or order of a practitioner while acting in

the course of professional practice.” Tenn. Code Ann. § 39-17-418. A police officer

may warrantlessly arrest a person for a misdemeanor offense in Tennessee if the offense

was committed in the officer’s presence, and for a felony offense at any time. Tenn.

Code. Ann. § 40-7-103.1

         The defendant’s argument in support of his objection suggests that he believes the

arrest occurred when he was handcuffed after the pat-down search [Doc. 94 p. 6]. At the

moment that Officer Cook put the defendant in handcuffs, he knew Ms. Miller had stated

that the defendant put heroin in her pants, the defendant was acting nervously, the

defendant’s actions were inconsistent with his statement that he did not have

identification and was named “J. Davis,” and the defendant had a large amount of cash in

his pocket. On this evidence, Officer Cook had probable cause to arrest the defendant for

the felony offense of possessing with intent to deliver or sell heroin.

1
    A person cannot be arrested for a seatbelt violation. Tenn. Code Ann. § 55-9-603(f)(1).
                                                 15
     Case 3:13-cr-00145-TAV-HBG           Document 96 Filed 11/24/14            Page 15 of 17
                                          PageID #: 462
       Moreover, the cash on the defendant would have been discovered even if the frisk

had never occurred. Considering the relevant events, the arrest was the “result of a fluid

process that cannot easily be divided into a rigid chronological sequence.” United States

v. Williams, 170 F. App'x 399, 405 (6th Cir. 2006). At the moment that Officer Cook

asked the defendant to step out of the vehicle, prior to the frisk, Officer Cook had

reasonable suspicion that the defendant was engaged in criminal activity.

       If a police officer develops reasonable suspicion during a lawful traffic stop that

occupants of a vehicle are engaged in criminal activity, the officer may lawfully detain

the occupants in a reasonable manner and for reasonable period of time in order to

investigate further. United States v. Davis, 430 F.3d 345, 353–55 (6th Cir. 2005); United

States v. Hill, 195 F.3d 258, 267–75 (6th Cir. 1999). Even if the defendant could not

have been placed under arrest at the time he was handcuffed, it still would have been

reasonable under the circumstances of this case for Officer Cook to detain the defendant

in the back of a police cruiser on scene while police investigated Ms. Miller and her car.

See United States v. Shank, 543 F.3d 309, 314 (6th Cir. 2008) (citing United States v.

Bradshaw, 102 F.3d 204, 212 (6th Cir. 1996)) (detention of a suspect in a police cruiser

during a traffic stop does not automatically constitute an arrest if the detention is within

the lawful scope of the stop); see also Davis, 430 F.3d at 355 (it was reasonable to detain

the defendant for 30 minutes in order to bring a police dog to sniff his car for drugs).

       After completing this further investigation, Officer Cook and the law enforcement

officials on scene would have discovered that Ms. Miller did in fact have heroin in her

pants during the time that Officer Cook had observed her sitting in the car with the

                                             16
   Case 3:13-cr-00145-TAV-HBG          Document 96 Filed 11/24/14          Page 16 of 17
                                       PageID #: 463
defendant, and that a police dog had alerted to the presence of drugs in the car.

Therefore, Officer Cook would have had concrete evidence, which he personally

observed, that the defendant was present in a vehicle containing heroin over which the

defendant, in combination with Ms. Miller, exercised dominion or control.          This

information, combined with the other facts Officer Cook uncovered irrespective of the

pat-down, would have provided Officer Cook with probable cause to arrest the defendant.

See Maryland v. Pringle, 540 U.S. 366, 371–72 (2003) (finding probable cause to arrest

each occupant of a vehicle for possessing drugs found in its cabin when it was unclear

which occupant—or all three—possessed the drugs); State v. Ash, 12 S.W.3d 800, 804–

06 (Tenn. Crim. App. 1999) (collecting cases on, and discussing, when a misdemeanor

has been committed in an officer’s presence in Tennessee).

      Accordingly, the cash was lawfully seized in a search incident to arrest, and even

if the frisk had not occurred, the cash inevitably would have been discovered.

IV.   Conclusion

      For these reasons, the defendant’s objections [Doc. 94] are OVERRULED. The

Court ACCEPTS in whole the R&R [Doc. 91] and incorporates it into this

Memorandum Opinion and Order. Accordingly, the defendant’s Motion to Suppress

Evidence [Doc. 79] is DENIED.

      IT IS SO ORDERED.



                                  s/ Thomas A. Varlan
                                  CHIEF UNITED STATES DISTRICT JUDGE


                                            17
   Case 3:13-cr-00145-TAV-HBG        Document 96 Filed 11/24/14         Page 17 of 17
                                     PageID #: 464
